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14 U.S. SECURITY ASSOCIATES

15                               UNITED STATES DISTRICT COURT

16                                      DISTRICT OF NEVADA

17 KARL HANSEN,                                            CASE NO.: 3:19-cv-00413-LRH-WGC

18                        Plaintiff,
                                                           DEFENDANT U.S. SECURITY
19         v.                                              ASSOCIATES, INC.’S REPLY
                                                           MEMORANDUM OF POINTS AND
20 ELON MUSK; TESLA, INC.; TESLA MOTORS,                   AUTHORITIES IN SUPPORT OF
   INC.; U.S. SECURITY ASSOCIATES; DOES 1                  MOTION TO COMPEL
21 THROUGH 50,                                             ARBITRATION AND DISMISS
                                                           (ECF No. 39)
22                        Defendants.
                                                           ORAL ARGUMENT REQUESTED
23

24         Defendant U.S. SECURITY ASSOCIATES, INC. (“USSA”) files this Reply Brief in support

25 of its Motion to Compel Arbitration and Dismiss and Stay Proceedings (ECF No. 44, hereafter the

26 “Motion”) and respectfully requests the Court grant its Motion and enforce the arbitration agreement

27 between the parties and compel Plaintiff to arbitrate the claims which fall under the agreement.

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 1                                       I.         INTRODUCTION
 2          Plaintiff does not dispute the existence or the validity of the binding arbitration agreement in
 3 which USSA is an expressly named as an intended third-party beneficiary (ECF No. 39-5, §13,

 4 hereafter the “Arbitration Agreement”). Moreover, Plaintiff does not dispute that he willingly and

 5 voluntarily agreed to its terms. Instead, Plaintiff’s Opposition argues that USSA waived its right to

 6 compel arbitration by waiting to file the Motion over eight months after the Complaint was filed and

 7 over four months after USSA answered the Complaint. Plaintiff’s argument misses the mark.

 8          In arguing that USSA waived its right to compel arbitration, Plaintiff’s Opposition
 9 painstakingly details the number of days, weeks, and months between the date the Motion was filed

10 and the dates Plaintiff filed his Complaint, and the dates USSA answered and complied with other

11 court orders and statutory case management filing deadlines (e.g. initial disclosures, Rule 26(f) Joint

12 Statement). Yet, Plaintiff ignores a crucial fact – USSA was unaware of its status as an express third-

13 party beneficiary of the Arbitration Agreement until December 17, 2019 – more than a month after

14 it answered the Complaint. Declaration of Janine Braxton (“Braxton Decl.”) at ¶ 4. Likewise,

15 Plaintiff failed to demonstrate it would suffer any prejudice in granting the Motion.

16          Plaintiff’s attempt to evade his contractual obligations under the terms of the Arbitration
17 Agreement should be rejected by the Court in favor of arbitration. Indeed, Plaintiff failed to meet

18 his burden and the Motion should be granted.

19                                            II.    ARGUMENT
20          To prove a party waived its right to compel arbitration the opposing party must prove three
21 elements: first, that the moving party knew it had an existing right to compel arbitration; second, that

22 the moving party committed acts that were inconsistent with the right to compel arbitration; and third,

23 that the opposing party would suffer prejudice because of the moving party’s inconsistent acts.”

24 Martin v. Yasuda, 829 F.3d 1118, 1124 (9th Cir. 2016) (citation omitted).

25          In the Ninth Circuit a court finding the “[w]aiver of a contractual right to arbitration is not
26 favored.” Fisher v. A.G. Becker Paribas Inc., 791 F.2d 691, 694 (9th Cir. 1986) (citations omitted).

27 In this regard, the Ninth Circuit Court of Appeals has said: “[a]ny examination of whether the right

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 1 to compel arbitration has been waived must be conducted in light of the strong federal policy favoring

 2 enforcement of arbitration agreements. Id. citing Moses H. Cone Hospital v. Mercury Construction

 3 Corp., 460 U.S. 1, 24–25, 103 S.Ct. 927, 941–42, 74 L.Ed.2d 765 (1983) (as a matter of federal law,

 4 any doubts concerning the scope of arbitrable issues should be resolved in favor of arbitration,

 5 whether the issue is the construction of the contract language itself or an allegation of waiver, delay,

 6 or a like defense to arbitrability). 1 Indeed, the “the purpose of the Arbitration Act was to ensure

 7 judicial enforcement of privately made agreements to arbitrate”. Fisher, 791 F.2d at 694 (citing

 8 Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 105 S.Ct. 1238, 84 L.Ed.2d 158 (1985)).

 9 Accordingly, “any party arguing waiver of arbitration bears a heavy burden of proof.” Fisher, 791

10 F.2d at 694. (citations omitted).

11           In this case, Plaintiff has a heavy burden because he claims USSA waived its right to compel
12 arbitration. As shown below, Plaintiff has not met this heavy burden and the Motion to Compel

13 Arbitration should be granted.

14 A.        USSA was Unaware of the Arbitration Agreement when it Answered the Complaint
15           Plaintiff knew when he filed his Complaint against USSA that he had signed the Arbitration
16 Agreement identifying USSA as a third-party beneficiary of it, and therefore, filed the Complaint in

17 breach of the Arbitration Agreement. USSA, on the other hand, was unaware of the Arbitration

18 Agreement when it answered the Complaint on November 12, 2019. Braxton Decl. at ¶4. Plaintiff

19 speculates that USSA knew of the underlying Arbitration Agreement between Tesla and Plaintiff in

20 or around July of 2018 when it was executed. ECF No. 45, at 2. There is no evidence before the

21 Court to support Plaintiff’s self-serving belief that USSA knew about the Arbitration Agreement

22 when it was executed in 2018.

23           Instead, and as outlined in USSA’s moving papers, the evidence shows USSA first learned it
24 was an express third-party beneficiary of the Arbitration Agreement on December 17, 2019. Id.

25

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     1
27  Also citing Shinto Shipping Co., Ltd. v. Fibrex & Shipping Co., 572 F.2d 1328, 1330 (9th Cir.1978)
   (waiver is not favored and the facts must be viewed in light of the strong federal policy supporting
28 arbitration agreements).
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 1 Accordingly, the Court should find that USSA was unaware of its rights under the Arbitration

 2 Agreement when the Arbitration Agreement was executed and when USSA answered the Complaint.

 3 B.      USSA Has Not Acted Inconsistent with its Right to Compel Arbitration.
 4          Plaintiff asserts that USSA has acted inconsistent with its right to compel arbitration by filing
 5 its Motion over four months after answering the Complaint and by complying with the Court’s rules

 6 and orders. Plaintiff cited Martin and cases therein to argue that USSA waived its rights by waiting

 7 to file its Motion: ECF No. 45 at 4. However, the examples cited are incompatible with USSA’s

 8 actions. Before filing its Motion USSA did not actively litigate the matter to take advantage of being

 9 in federal court, file dispositive motions, conduct discovery, litigate motions, or argue a preliminary

10 injunction. Id. Simply put, USSA did not actively try to litigate this matter – instead, after

11 discovering the Arbitration Agreement it continued to comply with the Court’s orders and rules, and

12 shortly thereafter, filed the Motion. In this regard, “parties do not act inconsistently with a right to

13 compel arbitration when they engage in litigation activities that do not evince a decision to take

14 advantage of the judicial forum.” Newirth by & through Newirth v. Aegis Senior Communities, LLC,

15 931 F.3d 935, 941 (9th Cir. 2019). Indeed, Plaintiff failed to identify any of USSA’s litigation

16 activities since December 17, 2019, when it discovered the Arbitration Agreement, that “evince[d] a

17 decision to take advantage of the judicial forum.” Accordingly, USSA has not acted inconsistent with

18 its rights to compel arbitration.

19          Furthermore, Plaintiff tries to confuse the issue by shifting focus from when the Motion to
20 Compel Arbitration was filed to when he believes USSA knew that Plaintiff had signed an arbitration

21 agreement to which USSA was a third-party beneficiary. Regardless, the fact remains that USSA

22 filed the Motion just over four months after answering the Complaint and just over three months after

23 discovering the Arbitration Agreement. Waiting three to four months to file a motion to compel

24 arbitration does not equate to waiver of the right to enforce an arbitration agreement. In this regard,

25 the Ninth Circuit explained, in the context of a party who moved for arbitration after litigating a

26 matter for 17 months, that “a party’s extended silence and delay in moving for arbitration may

27 indicate a conscious decision to continue to seek judicial judgment on the merits of the arbitrable

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 1 claims.” Martin, 829 F.3d at 1125 (emphasis added, citations, internal quotations, and brackets

 2 omitted).

 3           In this case, USSA has not litigated the matter for well over a year or engaged in an extended
 4 silence and delay before moving to compel arbitration. Instead, USSA reasonably filed its Motion

 5 after learning about the Arbitration Agreement. In doing so, USSA acted consistent with its rights

 6 to enforce the Arbitration Agreement. See for example Okada v. Nevada Property 1, LLC, 2015 WL

 7 5458799 (2015).

 8           In Okada the defendant knew it had the right to compel arbitration when the complaint was
 9 filed. Id. at *1. 2 Before moving to compel arbitration, the defendant filed two motions to dismiss

10 and to transfer venue. Id. In fact, the court granted in part the first and second motions to dismiss

11 and granted the second motion transfer venue. Id. Thereafter, the defendant filed its motion to

12 compel arbitration 3 in the new venue – seven months after the complaint was originally filed and

13 over five months after the first motion to dismiss 4 had been filed. Id. In opposition, the plaintiff

14 argued the defendant had waived its right to compel arbitration by filing the motions to dismiss and

15 for a new venue and waiting for the court to rule on those motions before seeking to compel

16 arbitration. Id. Judge Lloyd George considered the factors referenced above to determine whether

17 the defendant waived its right to compel arbitration and determined that the defendant promptly

18 moved to compel arbitration and that asking a court to determine whether claims were properly plead

19 was not inconsistent with the right to compel arbitration. Id. Accordingly, the court found the

20 defendant had not waived its rights and granted the motion to compel arbitration. Id. at 4.

21           Plaintiff’s recapitulation of the procedural and rather mundane court filings to date (none of
22 which involve litigation of any issue on the merits), falls woefully short of demonstrating waiver.

23 Contrary to Plaintiff’s contention, USSA did not sit idly on its right to compel arbitration or engage

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     2
26   The complaint was filed on March 3, 2014. See Case No. 2:14–cv–01601 ECF No. 01
     3
     The motion to compel arbitration was filed on October 23, 2014. See Case No. 2:14–cv–01601
27 ECF No. 41
   4
28 The first motion to dismiss was filed on May 7, 2014. See Case No. 2:14–cv–01601 ECF No. 10
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 1 in conduct inconsistent with arbitration. Further, as shown below, Plaintiff cannot reasonably

 2 identify any prejudice. As such, the Motion should be granted.

 3 C.       Plaintiff Agreed that as of December 9, 2019 it was premature to know whether the
            Parties should Arbitrate the Matter.
 4
            On December 9, 2019, Plaintiff’s former counsel agreed in the parties Rule 26(f) Joint
 5
     Scheduling Conference Report that with respect to alternative dispute resolution (including
 6
     mediation and arbitration), that “it is premature to reach a determination on this issue at this early
 7
     juncture in the case.” Joint Scheduling Conference Report Pursuant to Rule 26(F) (“ECF No. 27”),
 8
     at 6, ¶ J. The Court subsequently approved and signed the joint order. Id. Plaintiff agreed that as of
 9
     December 9th it was premature to know whether the parties should arbitrate the matter.
10
     Consequently, Plaintiff’s current counsel cannot now adopt a contrary position that USSA should
11
     have moved to compel arbitration before December 9, 2019.
12
     D.     Plaintiff Has Shown No Prejudice
13
            A party opposing a motion to compel arbitration is not prejudiced by self-inflicted damage
14
     “incurred as a direct result of suing in federal court contrary to the provisions of an arbitration
15
     agreement.” Martin, 829 F.3d at 1126; see also Fisher, 791 F.2d at 698. If a party opposing a motion
16
     to compel previously agreed to arbitrate disputes, and thereafter breaches that agreement by filing a
17
     complaint, then “[a]ny extra expense incurred as a result of the [opposing party’s] deliberate choice
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     of an improper forum, in contravention of their contract, cannot be charged to [the moving party].”
19
     Fisher, 791 F.2d at 698. “Accordingly, a plaintiff that has breached its arbitration agreement is not
20
     prejudiced by costs incurred in preparing the complaint, serving notice, and litigating non-merits
21
     issues (such as jurisdiction or venue).” Newirth, 931 F.3d at 943 (citation omitted). Likewise, such
22
     a plaintiff does not suffer prejudice by legal fees and costs “incurred due to substantial discovery in
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     federal court, even though such discovery would be rendered nugatory by a direction that arbitration
24
     now be had.” Id. (citations omitted). Lastly, a party opposing arbitration does not suffer and therefore
25
     cannot show prejudice by “the possibility that there may be some duplication from ... parallel
26
     proceedings” in litigation and compelled arbitration. Fisher, 791 F.2d at 698.
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     ///
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 1          Plaintiff may establish prejudice by demonstrating:
 2              •   “incurred costs that they would not otherwise have incurred” as a result of a delayed
 3                  motion to compel arbitration. Martin, 829 F.3d at 1126 (citation omitted).
 4              •   “that [Plaintiff] would be forced to relitigate an issue on the merits on which [he has]
 5                  already prevailed in court.” Id.
 6              •   “that the defendants have received an advantage from litigating in federal court that
 7                  they would not have received in arbitration.” Id. (citation omitted).
 8          Plaintiff does not assert he will be prejudiced by any of these. Specifically, Plaintiff does
 9 not:

10             (1) identify any specific costs incurred due to the timing of USSA’s motion to compel
11                  arbitration that he would not have otherwise incurred;
12             (2) allege that he would be required to relitigate any issue on the merits already decided
13                  by this Court in his favor (because there are none); or
14             (3) allege that USSA has received any advantage from litigating in federal court (because
15                  it has not).
16 Indeed, Plaintiff failed to identify any cognizable prejudice stemming from this Motion.

17          Instead, Plaintiff claims granting USSA’s Motion “will result in the litigation starting anew
18 as opposed to concluding in less than three months and will cause profound delay and additional

19 expenses rather than being an ‘efficient, effective, and less expensive means of resolving disputes.’”

20 ECF No. 45, at 6. To the extent Plaintiff’s alleged prejudice is based on “litigation starting anew,”

21 and “additional expenses” resulting therefrom, such costs are self-inflicted as a result of Plaintiff

22 filing this lawsuit in contravention of the Arbitration Agreement.

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 1                                        III.    CONCLUSION
 2          In light of the foregoing, Defendant respectfully submits that Plaintiff failed to carry its
 3 heavy burden to oppose the Motion, and requests an order compelling arbitration and dismissal of

 4 Plaintiff’s breach of contract claim, or alternatively, a stay of litigation pending the conclusion of

 5 arbitration.

 6

 7 Dated: April 14, 2020                  HOLLAND & HART LLP

 8
                                          By: ____/s/ Matthew T. Cecil________________________
 9                                                      Matthew T. Cecil

10
     Dated: April 14, 2020                MARTENSON HASBROUCK & SIMON LLP
11

12                                        By: __/s/ Alex A. Smith______________________________
                                                         Jeremy T. Naftel
13                                                       Janine M. Braxton
                                                         Alex A. Smith
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